Case 2:21-cv-11815-TGB-EAS ECF No. 23, PageID.1266 Filed 06/28/22 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

CYNTHIA PALACIOS, individually and  )
on behalf of all others similarly situated,
                                    )
                                    )
                    Plaintiff,      )
               v.                   )                 Case No. 2:21-CV-11815
                                    )
                                    )                 Hon. Terrence G. Berg
ANNIE’S PUBLISHING, LLC,            )
                                    )
                     Defendant.     )
____________________________________)

    STIPULATED ORDER TO CONTINUE THE DEADLINE FOR THE
    JOINT STATUS REPORT DUE TO UPDATED MEDIATION DATE

      Plaintiff Cynthia Palacios and Defendant Annie’s Publishing, LLC

(“Annie’s,” together with Plaintiff, the “Parties”) state as follows:

      WHEREAS, the Court entered an Order on June 27, 2022 (ECF No. 22),

staying this case pending a September 20, 2022 mediation, with a joint status report

due September 25, 2022;

      WHEREAS, the mediator has informed the parties of a scheduling conflict,

and as a result, the mediation has been rescheduled for September 30, 2022;

      WHEREAS, the Parties having stipulated, the Parties propose that the

submission of the joint status report shall be continued 10 days, i.e., by no later than

October 5, 2022;
Case 2:21-cv-11815-TGB-EAS ECF No. 23, PageID.1267 Filed 06/28/22 Page 2 of 5




      Accordingly, IT IS HEREBY ORDERED that the deadline to submit a joint

status report apprising the Court of the outcome of the mediation shall be continued

10 days, being no later than October 5, 2022.

      SO ORDERED.

Dated: June 28, 2022            /s/Terrence G. Berg___________
                                Hon. Terrence G. Berg
                                UNITED STATES DISTRICT JUDGE




                                         2
Case 2:21-cv-11815-TGB-EAS ECF No. 23, PageID.1268 Filed 06/28/22 Page 3 of 5




STIPULATED AND AGREED:



    /s/ E. Powell Miller                      /s/ Meegan Brooks
    THE MILLER LAW FIRM, P.C.                STEPTOE & JOHNSON LLP
    E. Powell Miller                         Stephanie Sheridan
    Sharon S. Almonrode                      Meegan Brooks
    Gregory Mitchell                         One Market Plaza
    950 W. University Drive, Suite 300       Spear Tower, Suite 3900
    Rochester, MI 48307                      San Francisco, CA 94105
    (248) 841-2200                           (415) 365-6700
    epm@millerlawpc.com                      ssheridan@steptoe.com
    ssa@millerlawpc.com                      mbrooks@steptoe.com

    BURSOR & FISHER, P.A.                    Attorneys for Defendant
    Philip L. Fraietta
    888 Seventh Avenue
    New York, New York 10019
    (646) 837-7150
    pfraietta@bursor.com

    HEDIN HALL LLP
    Frank S. Hedin
    1395 Brickell Ave
    Suite 900
    Miami, FL 33131
    (305) 357-2107
    fhedin@hedinhall.com

    Attorneys for Plaintiff




                                         3
Case 2:21-cv-11815-TGB-EAS ECF No. 23, PageID.1269 Filed 06/28/22 Page 4 of 5




Dated: June 28, 2022                     Respectfully submitted,

                                         /s/ E. Powell Miller
                                         THE MILLER LAW FIRM, P.C.
                                         E. Powell Miller
                                         Sharon S. Almonrode
                                         Gregory Mitchell
                                         950 W. University Drive, Suite 300
                                         Rochester, MI 48307
                                         (248) 841-2200
                                         epm@millerlawpc.com
                                         ssa@millerlawpc.com

                                         BURSOR & FISHER, P.A.
                                         Philip L. Fraietta
                                         888 Seventh Avenue
                                         New York, New York 10019
                                         (646) 837-7150
                                         pfraietta@bursor.com

                                         HEDIN HALL LLP
                                         Frank S. Hedin
                                         1395 Brickell Ave
                                         Suite 900
                                         Miami, FL 33131
                                         (305) 357-2107
                                         fhedin@hedinhall.com

                                         Counsel for Plaintiff




                                     4
Case 2:21-cv-11815-TGB-EAS ECF No. 23, PageID.1270 Filed 06/28/22 Page 5 of 5




                         CERTIFICATE OF SERVICE

      I, E. Powell Miller, an attorney, hereby certify that on June 28, 2022, I served

the above and foregoing on all counsel of record by submitting it via the Court’s

Utilities system and forwarding verification of the submission and this document to

counsel for Defendant at the following email addresses:

      Meegan Brooks
      mbrooks@steptoe.com

      Stephanie Sheridan
      ssheridan@steptoe.com

                                       /s/ E. Powell Miller
                                       E. Powell Miller
                                       THE MILLER LAW FIRM, P.C.
                                       950 W. University Dr., Ste 300
                                       Rochester, MI 48307
                                       Tel: 248.841.2200
